Case 1:25-cv-00157-LG-RPM   Document 1-2   Filed 05/29/25   Page 1 of 2




                   Exhibit 2
              Case 1:25-cv-00157-LG-RPM            Document 1-2         Filed 05/29/25      Page 2 of 2


Britney Long

From:                 foia_noreply@nih.gov
Sent:                 Friday, August 16, 2024 2:50 PM
To:                   S&G Information Request Staff
Subject:              Status Update for Request #62313

Follow Up Flag:       Follow up
Flag Status:          Flagged


Dear Aaron Siri,



The status of your FOIA request #62313 has been updated to the following status 'Received'. To log into the NIH FOIA
Public Portal click on the Application URL below.



https://foiaportal.nih.gov



Sincerely,

National Institutes of Health




                                                           1
